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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Caption in Compliance with D.N.J. LBR 9004-1(B)
   GENOVA BURNS LLC
   110 Allen Road, Suite 304
   Basking Ridge, NJ 07920
   (973) 467-2700
   Proposed Counsel for Debtor
   DONALD W. CLARKE, ESQ.
   DANIEL M. STOLZ, ESQ.
   SCOTT S. REVER, ESQ.
   SUSAN S. LONG, ESQ.

   In Re:                                                          Case No.:      24-12110

   RLB FOOD DISTRIBUTORS LP d/b/a                                  Judge:
   FRESHPRO FOOD DISTRIBUTORS,
                              Debtor.                              Chapter:        11

                      CERTIFICATION OF PROFESSIONAL IN SUPPORT OF
                      APPLICATION FOR RETENTION OF PROFESSIONAL

 I, Donald W. Clarke, being of full age, certify as follows:

         1.      I am seeking authorization to be retained as Counsel to the Debtor..

         2.      My professional credentials include: I have been a practicing bankruptcy lawyer for 16
         years, during which I have handled numerous Chapter 11 cases.

         3.      I am a member of or associated with the firm of: Genova Burns, LLC, 110 Allen Road,
         Suite 304, Basking Ridge, NJ 07920.

 4.       The proposed arrangement for compensation, including hourly rates, if applicable, is as follows:
 The terms of employment of Genova Burns LLC agreed to by the Debtors, subject to the approval of the
 Court, are that certain attorneys and other personnel within the firm will undertake this representation at
 their standard hourly rate, plus disbursements.

 Other members or associates of Genova Burns LLC may also render services to the Debtors, if appropriate,
 at rates commensurate with the foregoing, as follows:

                          Partners:                $500.00 - $950.00
                          Counsel:                 $450.00 - $650.00
                          Of Counsel:              $500.00 - $700.00
                          Associates (by years of experience):
                          1–3                      $325.00
                          4–8                      $375.00
                          9+                       $425.00
                          Paralegals:              $275.00

         These hourly rates are subject to periodic adjustments to reflect economic and other conditions,
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        and with respect to those below the level of senior partner, to reflect their increased experience
        and expertise.

        ☐ Pursuant to D.N.J. LBR 2014-3, I request a waiver of the requirements of D.N.J. LBR 2016-1.


        5.      To the best of my knowledge, after reasonable and diligent investigation, my connection
        with the debtor(s), creditors, any other party in interest, their respective attorneys and
        accountants, the United States trustee, or any person employed in the office of the United States
        trustee, is as follows:
                ☒     None

                ☐     Describe connection:


        6.      To the best of my knowledge, after reasonable and diligent investigation, the connection
        of my firm, its members, shareholders, partners, associates, officers and/or employees with the
        debtor(s), creditors, any other party in interest, their respective attorneys and accountants, the
        United States trustee, or any person employed in the office of the United States trustee, is as
        follows:
                ☒     None

                ☐     Describe Connection:


        7.      To the best of my knowledge, my firm, its members, shareholders, partners, associates,
        officers and/or employees and I (check all that apply):

                ☒     do not hold an adverse interest to the estate.

                ☒     do not represent an adverse interest to the estate.

                ☒     are disinterested under 11 U.S.C. § 101(14).

                ☐     do not represent or hold any interest adverse to the debtor or the estate with respect
                to the matter for which I will be retained under 11 U.S.C. § 327(e).

                ☐     Other. Explain: ______________________________________________________
                ________________________________________________________________________
                ________________________________________________________________________

        8.      If the professional is an auctioneer,


                                                        2
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               The following are my qualifications and experience with the liquidation or sale of
               similar property: ____________________________________________________
               __________________________________________________________________

               __________________________________________________________________

               b.      The proposed method of calculation of my compensation, including rates and
              formulas, is: ______________________________________________________________

              ________________________________________________________________________

               ________________________________________________________________________

               Pursuant to D.N.J. 2014-2, I ☐ do or ☐ do not request a waiver of the requirements of
               D. N. J. LBR 2016-1.

               c.      The following is an estimate of all costs and expenses, including labor, security,
               advertising, delivery, mailing, and insurance, for which I will seek reimbursement from
               the sale proceeds: ________________________________________________________

               _______________________________________________________________________

               _______________________________________________________________________


               d.      Have you, or a principal of your firm, been convicted of a criminal offense?

                       ☐ No             ☐ Yes (explain below)

               ________________________________________________________________________

               ________________________________________________________________________

               ________________________________________________________________________

               e.      I certify that a surety bond as described in D. N. J. LBR 2014-2(a)(6) is in effect
               and will remain so through the date of turnover of the auction proceeds.

        9.     If the professional is an auctioneer, appraiser or realtor, the location and description of
        the property is as follows: _________________________________________________________

        ______________________________________________________________________________

        ______________________________________________________________________________



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        I certify under penalty of perjury that the above information is true.


 Date: February 28, 2024         _                           /s/ Donald W. Clarke      .
                                                           Signature of Professional

                                                                                           rev.8/1/15




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